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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION




  UNITED STATES OF AMERICA,
                                                   CR 19-64-BLG-SPW
                       Plaintiff,

  vs.                                               ORDER


  TERRY LYNN BRAINE,

                       Defendant.


        On September 23,2020,this Court determined that Defendant Terry Lynn

Braine was suffering from a mental disease or defect rendering him incompetent to

the extent he is unable to understand the nature and consequences ofthe

proceedings against him or assist in his defense.(Doc. 25 at 1). The Court

subsequently committed Braine, under 18 U.S.C. § 4241(d)(2)(A), to the custody

ofthe Attorney General for placement in a medical facility until such time, not to

exceed four months, as Braine is deemed competent for trial.(Id. at 2).

        Shortly thereafter, the Court received notice from the United States Marshal

Service("USMS")that the medical facility designated for Braine is facing a lack

of available bed space. The Justice Prisoner & Alien Transportation System

("JPATS")requested an extension date ofDecember 31, 2020 in which to transfer

Braine.
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